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PROB 12C - (Rev. D/NM-8/2014)                                                                           6348443

                                   UNITED STATES DISTRICT COURT
                                              FOR THE
                                      DISTRICT OF NEW MEXICO

                                Petition for Revocation of Supervised Release
Name of Offender:                 Roque Angel Luviano
Docket Number:                    1084 1:19CR02325 -001JCH
Assigned Judge:                   Honorable Judith C. Herrera, Senior United States District Judge
Date of Original Sentence:        08/31/2020
Original Offense:                 18 U.S.C. 922(g)(1): Felon in Possession of a Firearm and Ammunition
Original Sentence:                BOP: 20 months; TSR: 3 years
Date Supervision                  12/04/2020
Commenced:
Date Supervision Expires:         12/03/2023
Other Court Action:               01/08/2021: Report on Offender Under Supervision filed due to
                                  Methamphetamine and Suboxone use prior to his release from custody. On
                                  January 14, 2021, the Court ordered no action was necessary.

                                  03/01/2021: Report on Offender Under Supervision filed due to the defendant
                                  not being accepted into sober living due to a positive urinalysis and due to
                                  him changing his residence without authorization. On March 2, 2021, the
                                  Court ordered no action was necessary.


                                       PETITIONING THE COURT

To issue a warrant.

U.S. Probation Officer of the Court, Laina M. Romero, alleges the offender has violated the following
condition(s) of supervised release.

Violation      Nature of Noncompliance
Type
MC             You must refrain from any unlawful use of a controlled substance. You must submit to one drug
               test within 15 days of release from imprisonment and at least two periodic drug tests thereafter,
               as determined by the court.

               On November 16, 2021, the defendant’s urinalysis returned positive for Amphetamine and
               Fentanyl. The defendant admitted to methamphetamine use the night prior and denied the use of
               any other drugs. The specimen was submitted to Alere National Laboratory and the positive
               results for Fentanyl were confirmed.

SC             After initially reporting to the probation office, you will receive instructions from the court or
               the probation officer about how and when you must report to the probation officer, and you must
               report to the probation officer as instructed.

               On November 10, 2021 and November 15, 2021, probation officers attempted a home contact at
               the defendant’s residence; however, he did not respond to knocks at his door, his doorbell
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      ringing or announcements of probation officers’ presence. Additionally, the defendant did not
      answer this officer’s calls or respond to text messages asking him to respond. Lastly, this officer
      left a business card instructing the defendant to call this officer as soon as he got home, which he
      failed to do.

SC    You must answer truthfully the questions asked by your probation officer.

      On November 16, 2021, during an office contact, the defendant reported he was not home the
      night prior because he was hanging out with his sister, Victoria. He stated he did not call this
      officer when he got home because he did not get home until after midnight. This officer called
      Victoria and told the defendant she would be asked if the defendant was with her the night prior
      until midnight. This officer asked the defendant if she would confirm this, which he replied in
      the affirmative. Victoria immediately informed this officer the defendant was not with her the
      night prior.

SC    You must allow the probation officer to visit you at any time at your home or elsewhere, and you
      must permit the probation officer to take any items prohibited by the conditions of your
      supervision that he or she observes in plain view.

      On November 10, 2021, November 15, 2021 and November 30, 2021, the defendant prohibited
      this officer from making contact with him at his home. On November 10, 2021, the defendant
      claimed he was home but was asleep and did not hear his doorbell, knocks at the door, probation
      announcements, his phone ringing or his phone’s text message alert. On November 15, 2021, he
      did not respond to this officers attempts to reach him because he was at a park using
      methamphetamine with a female he met after he noticed her walking around his apartment
      complex. On November 16, 2021, this officer informed him he needed to be home everyday by
      7:00 PM, until this officer could make contact with him at his apartment. On November 30,
      2021, probation officers attempted to make contact with the defendant at 7:04 PM. The
      defendant again did not answer his phone or respond to this officer’s text message while at his
      residence. He later claimed he was at the laundromat and left his phone at home.

SC    You must not communicate or interact with someone you know is engaged in criminal activity.
      If you know someone has been convicted of a felony, you must not knowingly communicate or
      interact with that person without first getting the permission of the probation officer.

      On November 16, 2021, the defendant consented to this officer inspecting his phone. On
      September 27, 2021, there was a text conversation between the defendant and Dennis Garcia.
      The defendant asked Dennis for some “zanies,” which is street vernacular for Xanax pills.
      Additionally, there was a picture of a Xanax bar pill and an Oxycodone pill on a washing
      machine. The defendant claimed the pills were for someone else.

      On November 16, 2021, the defendant admitted the night prior, he hung out at a park with a
      female drug user and they smoked methamphetamine together.

SPC   You must participate in an outpatient substance abuse treatment program and follow the rules
      and regulations of that program. The probation officer will supervise your participation in the
      program (provider, location, modality, duration, intensity, etc.). You may be required to pay all,
      or a portion, of the costs of the program.

      On October 20, 2021, the defendant’s Turning Point counselor informed him he was in danger of
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               being unsuccessfully discharged from their program due to his continued noncompliance.

               On November 24, 2021, December 6, 2021, December 27, 2021, January 10, 2022, the
               defendant failed to attend his individual substance abuse counseling at A New Awakening, in
               Albuquerque.

SPC            You must submit to substance abuse testing to determine if you have used a prohibited
               substance. Testing may include urine testing, the wearing of a sweat patch, a remote alcohol
               testing system, an alcohol monitoring technology program, and/or any form of prohibited
               substance screening or testing. You must not attempt to obstruct or tamper with the testing
               methods. You may be required to pay all, or a portion, of the costs of the testing.

               On November 21, 2021 and December 22, 2021, the defendant failed to submit to a random
               urinalysis at A New Awakening, in Albuquerque.

SPC            You must participate in and successfully complete a community-based program which provides
               education and training in parenting.

               On November 24, 2021, the defendant failed to attend his Parenting Group via Zoom, with A
               New Awakening.



This marks the defendant’s second positive drug test for illegal controlled substances since 12/04/2020.
Pursuant to 18 U.S.C. 3583 (g)(4) if the defendant tests positive for illegal controlled substances more than
three times over the course of one year, supervision must be revoked, and the defendant must be sentenced to a
term of imprisonment. However, sentencing provisions authorize the Court, acting in accordance with
sentencing guidelines, to exempt an offender who fails a drug test, from the mandatory revocation and
imprisonment provisions, pursuant to 18 U.S.C. 3563(e) and 18 U.S.C. 3583(d).

The maximum statutory penalty: 2 years imprisonment; 3 years supervised release.
The revocation range of imprisonment: 5 to 11 months.

I declare under penalty of perjury that the foregoing is true and correct.
Executed on 01/12/2022.


Submitted:                                                   Approved:                    ☒ Email Approval




Laina M. Romero                                              Presiliano Torrez
U.S. Probation Officer                                       (505) 346-7274
Cell #: 505-980-9816                                         Assistant U.S. Attorney


                                                             Date: 01/11/2022


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